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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                    Holding a Criminal Term

                          Grand Jury Sworn in on November 3, 2016

UNITED STATES OF AMERICA                      :       CRIMINAL NO.
                                              :
               v.                             :       GRAND JURY ORIGINAL
                                              :
JARRELL HARRIS,                               :       VIOLATIONS:
also known as “Jarell Harris,”                :       18 U.S.C. § 751(a)
                                              :       (Escape from Custody)
                       Defendant.             :       18 U.S.C. § 922(g)(1)
                                              :       (Unlawful Possession of a Firearm and
                                              :       Ammunition by a Person Convicted of a
                                              :       Crime Punishable by Imprisonment for a
                                              :       Term Exceeding One Year)
                                              :       18 U.S.C. § 922(g)(1)
                                              :       (Unlawful Possession of Ammunition by a
                                              :       Person Convicted of a Crime Punishable
                                              :       by Imprisonment for a Term Exceeding
                                              :       One Year)
                                              :       50 D.C. Code § 2201.05b(b)(2) (2001 ed.)
                                              :       (Fleeing a Law Enforcement Officer)
                                              :       22 D.C. Code § 402 (2001 ed.)
                                              :       (Assault with a Dangerous Weapon)
                                              :
                                              :       FORFEITURE:
                                              :       18 U.S.C. § 924(d); 28 U.S.C. § 2461(c)
                                              :       and 21 U.S.C. § 853(p)

                                       INDICTMENT

       The Grand Jury charges that:

                                          COUNT ONE

       On or about November 8, 2017, within the District of Columbia and elsewhere, JARRELL

HARRIS, also known as “Jarell Harris,” did knowingly escape from the custody at the Bureau of

Prisons, an institutional facility in which he was lawfully confined at the direction of the Attorney

General by virtue of a judgement and commitment of the District of Columbia Superior Court
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upon conviction for the commission of Assault with a Dangerous Weapon, in violation of D.C.

Code Section 22-402.

       (Escape from Custody, in violation of Title 18, United States Code, Section 751(a))

                                        COUNT TWO

       On or about January 11, 2018, within the District of Columbia and elsewhere, JARRELL

HARRIS, also known as “Jarell Harris,” having been convicted of a crime punishable by

imprisonment for a term exceeding one year, in the Superior Court for the District of Columbia,

Criminal Case No. 2015-CF1-6671, did unlawfully and knowingly receive and possess a firearm,

that is, a Taurus .357 revolver, and did unlawfully and knowingly receive and possess ammunition,

that is, .357 caliber ammunition, which had been possessed, shipped and transported in and

affecting interstate and foreign commerce.

       (Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime
       Punishable by Imprisonment for a Term Exceeding One Year, in violation of Title 18,
       United States Code, Section 922(g)(1))

                                       COUNT THREE

       On or about January 11, 2018, within the District of Columbia and elsewhere, JARRELL

HARRIS, also known as “Jarell Harris,” having been convicted of a crime punishable by

imprisonment for a term exceeding one year, in the Superior Court for the District of Columbia,

Criminal Case No. 2015-CF1-6671, did unlawfully and knowingly receive and possess

ammunition, that is, .357 caliber ammunition, which had been possessed, shipped and transported

in and affecting interstate and foreign commerce.

       (Unlawful Possession of Ammunition by a Person Convicted of a Crime Punishable
       by Imprisonment for a Term Exceeding One Year, in violation of Title 18, United States
       Code, Section 922(g)(1))


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                                          COUNT FOUR

        On or about January 11, 2018, within the District of Columbia and elsewhere, JARRELL

HARRIS, also known as “Jarell Harris,” while operating a motor vehicle, did knowingly fail and

refuse to bring that motor vehicle to an immediate stop, and did attempt to elude a law enforcement

officer, following a law enforcement officer's signal to bring the motor vehicle to a stop and

operated the motor vehicle in a manner that would constitute reckless driving, that is, did operate

a motor vehicle upon a highway carelessly and heedlessly in willful and wanton disregard of the

rights and safety of others and without the caution and circumspection and at a speed and a manner

so as to endanger and be likely to endanger persons and property.

        (Fleeing a Law Enforcement Officer, in violation of Title 50, District of Columbia Code,
        Section 2201.05b(b)(2) (2001 ed.))

                                          COUNT FIVE

        On or about January 11, 2018, within the District of Columbia and elsewhere, JARRELL

HARRIS, also known as “Jarell Harris,” assaulted Richard Clark with a dangerous weapon, that

is, a vehicle.

        (Assault with a Dangerous Weapon, in violation of Title 22, District of Columbia Code,
        Section 402 (2001 ed.))

                                 FORFEITURE ALLEGATION

        1.       Upon conviction of either of the offenses alleged in Count Two or Count Three, the

defendant shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)

and Title 28, United States Code, Section 2461(c), any firearms and ammunition involved in or

used in the knowing commission of these offenses. The property subject to forfeiture includes a

Taurus .357 revolver, .357 caliber ammunition and two speed loaders.


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       2.      If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

       a.      cannot be located upon the exercise of due diligence;

       b.      has been transferred or sold to, or deposited with, a third party;

       c.      has been placed beyond the jurisdiction of the Court;

       d.      has been substantially diminished in value; or

       e.      has been commingled with other property that cannot be divided without

               difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the value

of the property described above, pursuant to 21 U.S.C. § 853(p).

       (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 28,
       United Sates Code, Section 2461(c), and Title 21, United States Code, Section 853(p))

                                              A TRUE BILL:



                                              FOREPERSON.


Attorney of the United States in
and for the District of Columbia.




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